      Case: 1:20-cv-05384 Document #: 8 Filed: 11/09/20 Page 1 of 3 PageID #:22




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IRON WORKERS’ MID-AMERICA                    )
PENSION PLAN, et al.,                        )
                                             )
                      Plaintiffs,            )       CIVIL ACTION
                                             )
       vs.                                   )       NO. 20 C 5384
                                             )
GLASS DESIGNERS, INC., an Illinois           )       JUDGE JOAN H. LEFKOW
corporation,                                 )
                                             )
                      Defendant.             )


                 MOTION FOR ENTRY OF DEFAULT AND JUDGMENT

       NOW COME Plaintiffs, by their attorneys, and move for entry of judgment by default against

Defendant, GLASS DESIGNERS, INC., an Illinois corporation, in the total amount of $22,593.79,

plus Plaintiffs’ court costs and reasonable attorneys’ fees in the amount of $4,874.75.

       On September 21, 2020, the Summons and Complaint was served on the Registered Agent

by tendering a copy of said documents to him personally at his residence (a copy of the Summons

and Affidavit of Service is attached hereto). Therefore, Defendant’s answer was due on October 12,

2020. As Defendant has failed to timely answer the Complaint, Plaintiffs respectfully request entry

of default and judgment.


                                                             /s/ Patrick N. Ryan
         Case: 1:20-cv-05384 Document #: 8 Filed: 11/09/20 Page 2 of 3 PageID #:23




Patrick N. Ryan
Attorney for Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6278364
Telephone: (312) 216-2573
Telefax: (312) 236-0241
E-Mail: pryan@baumsigman.com
I:\MIDJ\Glass Designers\2020 Litigation\motion-default judgment.pnr.df.wpd




                                                                             2
         Case: 1:20-cv-05384 Document #: 8 Filed: 11/09/20 Page 3 of 3 PageID #:24




                                                   CERTIFICATE OF SERVICE

       The undersigned, an attorney of record, hereby certifies that she electronically filed the
foregoing document (Motion for Entry of Default and Judgment) with the Clerk of Court using the
CM-ECF system, and further certifies that I have mailed the above-referenced document by United
States Mail to the following non-CM/ECF participant on or before the hour of 5:00 p.m. this 9th day
of November 2020:

                                   Mr. William Jones, Registered Agent
                                   Glass Designers, Inc.
                                   PO Box 164
                                   South Holland, IL 60473-0164

                                   Mr. William Jones, Registered Agent
                                   Glass Designers, Inc.
                                   807 Manor Court
                                   Glenwood, IL 60425-1214



                                                                             /s/ Patrick N. Ryan


Patrick N. Ryan
Attorney for Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6278364
Telephone: (312) 216-2573
Telefax: (312) 236-0241
E-Mail: pryan@baumsigman.com
I:\MIDJ\Glass Designers\2020 Litigation\motion-default judgment.pnr.df.wpd
